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 AO 2450 (Rev. 09/ 19)    Judgment in a Criminal Case for Revocations
                          Sheet I



                                        UNITED STATES DISTRICT COURT
                                                            Eastern District of Arkansas

             UNITED STATES OF AMERICA                                   )) JUDGMENT IN A CRIMINAL CASE
                                   V.                                   ) (For Revocation of Probation or Supervised Release)
                                                                        )
                     Brandon Larry Caffey                               )                                                    FILED
                                                                        ) Case No. 4:12-cr-55-DPM-2 EAS _U.            S. Dl~}glCT COURT
                                                                                                                    I ERN Di~ 1RiCT ARKANSAS
                                                                        ) USM No. 26819-009
                                                                        )
                                                                        ) Jimm C. Morris Jr.
THE DEFENDANT:
~ admitted guilt to violation of condition(s)               Std. & Spec.                                                                  DEP CLERK

•   was found in violation of condition(s) count(s) _ __ __ _ __                     after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                Nature of Violation                                                                  Violation Ended
4 (Std. 7)                       Using a controlled substance, a Grade C Violation                               01/15/2021

5 (Spec. 1)                        Failing to comply with drug treatment, a Grade C Violation                    03/02/2021




       The defendant is sentenced as provided in pages 2 through _ _3__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
•   The defendant has not violated condition(s) _ __ _ __ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pai_d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No. : 9206                                                  05/04/2021
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:              1989

City and State of Defendant's Residence:                                                            Sig6ature of Judge
Little Rock, Arkansas
                                                                              D.P. Marshall Jr.                           U.S. District Judge
                                                                                                  Name and Title of Judge



                                                                                                              Date
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AO 245D (Rev. 09/ 19)     Judgment in a Criminal Case for Revocations
                          Sheet 2- Imprisonment
                                                                                                   Judgment -   Page   _ ., , _2_   of   3
DEFENDANT: Brandon Larry Caffey
CASE NUMBER: 4:12-cr-55-DPM-2


                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
6 months.




     Iii"   The court makes the following recommendations to the Bureau of Prisons:

1) that Caffey participate in a substance abuse treatment program during incarceration;
2) that Caffey participate in educational and vocational programs during incarceration; and
3) designation to the available facility closest to central Arkansas to facilitate family visitation.


     Iii"   The defendant is remanded to the custody of the United States Marshal.

     •      The defendant shall surrender to the United States Marshal for this district:
            •    at   _ ________ •                       a.m.      •    p.m.    on
            •    as notified by the United States Marshal.

     •      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            •    before 2 p.m. on
            •    as notified by the United States Marshal.
            •    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                     to

at   _ _ _ _ _ _ _ _ _ __ _ _ _ with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                               By
                                                                                            DEPUTY UNITED ST ATES MARSHAL
                            Case 4:12-cr-00055-DPM Document 467 Filed 05/05/21 Page 3 of 3
     AO 2450 (Rev. 09/19)    Judgment in a Criminal Case for Revocations
                             Sheet 3 - Supervised Release

                                                                                                     Judgment-Page   _ L      of ___   3__
 DEFENDANT: Brandon Larry Caffey
 CASE NUMBER: 4:12-cr-55-DPM-2
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, you will be on supervised release for a term of:
     None.




                                                       MANDATORY CONDITIONS
1.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
       imprisonment and at least two periodic drng tests thereafter, as determined by the court.
                  •   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                      substance abuse. (check if applicable)
4.       •  You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.       •  You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       •  You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
            where you reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.       D You must pmiicipate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
